     Case 1:25-cv-00766-JEB           Document 18       Filed 03/15/25    Page 1 of 12


                                                                     APPEAL,PSEUDO−GR,TYPE−D
                                U.S. District Court
                     District of Columbia (Washington, DC)
                CIVIL DOCKET FOR CASE #: 1:25−cv−00766−JEB
                                 Internal Use Only

J.G.G. et al v. TRUMP et al                                  Date Filed: 03/15/2025
Assigned to: Chief Judge James E. Boasberg                   Jury Demand: None
Cause: 28:1331 Federal Question: Other Civil Rights          Nature of Suit: 440 Civil Rights: Other
                                                             Jurisdiction: U.S. Government Defendant
Plaintiff
J.G.G.                                          represented by Arthur B. Spitzer
                                                               ACLU OF THE DISTRICT OF
                                                               COLUMBIA
                                                               529 14th Street, NW
                                                               Suite 722
                                                               Washington, DC 20045
                                                               202−601−4266
                                                               Email: aspitzer@acludc.org
                                                               ATTORNEY TO BE NOTICED

                                                             Bradley Girard
                                                             DEMOCRACY FORWARD
                                                             FOUNDATION
                                                             P.O. Box 34553
                                                             Washington, DC 20043
                                                             201−824−1304
                                                             Email: bgirard@democracyforward.org
                                                             ATTORNEY TO BE NOTICED

                                                             Daniel Antonio Galindo
                                                             AMERICAN CIVIL LIBERTIES UNION
                                                             FOUNDATION
                                                             125 Broad Street
                                                             Suite 18th Floor
                                                             New York
                                                             New York, NY 10004
                                                             646−905−8907
                                                             Email: dgalindo@aclu.org
                                                             ATTORNEY TO BE NOTICED

                                                             Scott Michelman
                                                             ACLU FOUNDATION OF THE
                                                             DISTRICT OF COLUMBIA
                                                             529 14th Street NW, Suite 722
                                                             Washington, DC 20045
                                                             202−601−4267
                                                             Email: smichelman@acludc.org
                                                             ATTORNEY TO BE NOTICED


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                                                 Skye Perryman
                                                 DEMOCRACY FORWARD
                                                 FOUNDATION
                                                 P.O. Box 34553
                                                 Washington, DC 20043
                                                 254−722−5745
                                                 Email: sperryman@democracyforward.org
                                                 ATTORNEY TO BE NOTICED

                                                 Somil Trivedi
                                                 DEMOCRACY FORWARD
                                                 FOUNDATION
                                                 P.O. Box 34553
                                                 Washington, DC 20043
                                                 202−904−7727
                                                 Email: strivedi@democracyforward.org
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 AMERICAN CIVIL LIBERTIES UNION
                                                 125 Broad St.
                                                 18th Floor
                                                 New York, NY 10004
                                                 212−549−2616
                                                 Fax: 212−549−2654
                                                 Email: lgelernt@aclu.org
                                                 ATTORNEY TO BE NOTICED

Plaintiff
G.F.F.                               represented by Arthur B. Spitzer
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                 Bradley Girard
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Skye Perryman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Somil Trivedi
                                                 (See above for address)

                                                                                         2
     Case 1:25-cv-00766-JEB   Document 18   Filed 03/15/25   Page 3 of 12


                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Plaintiff
J.G.O.                               represented by Arthur B. Spitzer
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                 Bradley Girard
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Skye Perryman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Somil Trivedi
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Lee Gelernt
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Plaintiff
W.G.H.                               represented by Arthur B. Spitzer
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                 Bradley Girard
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel Antonio Galindo
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Scott Michelman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED


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     Case 1:25-cv-00766-JEB               Document 18   Filed 03/15/25   Page 4 of 12




                                                             Skye Perryman
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Somil Trivedi
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Lee Gelernt
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Plaintiff
J.A.V.                                           represented by Arthur B. Spitzer
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                             Bradley Girard
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Daniel Antonio Galindo
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Scott Michelman
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Skye Perryman
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Somil Trivedi
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Lee Gelernt
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
DONALD J. TRUMP                                  represented by Christina Greer
in his official capacity as President of the                    US DEPARTMENT OF JUSTICE, CIVIL
United States                                                   DIVISION
                                                                P.O. Box 878
                                                                Ben Franklin Station
                                                                Washington, DC 20044

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     Case 1:25-cv-00766-JEB            Document 18     Filed 03/15/25      Page 5 of 12


                                                             (202) 598−8770
                                                             Email: christina.p.greer@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Drew C Ensign
                                                             U.S. DEPARTMENT OF JUSTICE
                                                             950 Pennsylvania Avenue
                                                             Washington, DC 20004
                                                             202−514−2331
                                                             Email: drew.c.ensign@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
PAMELA BONDI                                  represented by Christina Greer
Attorney General of the United States, in                    (See above for address)
her official capacity                                        LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Drew C Ensign
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
KRISTI NOEM                                   represented by Christina Greer
Secretary of the U.S. Department of                          (See above for address)
Homeland Security, in her official                           LEAD ATTORNEY
capacity                                                     ATTORNEY TO BE NOTICED

                                                             Drew C Ensign
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
U.S. DEPARTMENT OF                            represented by Christina Greer
HOMELAND SECURITY                                            (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Drew C Ensign
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
MADISON SHEAHAN                               represented by Christina Greer
Acting Director and Senior Official                          (See above for address)


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Performing the Duties of the Director of                        LEAD ATTORNEY
U.S. Immigration and Customs                                    ATTORNEY TO BE NOTICED
Enforcement, in her official capacity
                                                                Drew C Ensign
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Defendant
U.S. IMMIGRATION AND                             represented by Christina Greer
CUSTOMS ENFORCEMENT                                             (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Drew C Ensign
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Defendant
MARCO RUBIO                                      represented by Christina Greer
Secretary of State, in his official capacity                    (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Drew C Ensign
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

Defendant
U.S. STATE DEPARTMENT                            represented by Christina Greer
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Drew C Ensign
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED


 Date Filed       #   Docket Text
 03/15/2025       1   COMPLAINT against All Defendants ( Filing fee $ 405 receipt number
                      ADCDC−11544662) filed by J.G.O., G.F.F., J.G.G., W.G.H., J.A.V.. (Attachments: # 1
                      Civil Cover Sheet, # 2 Summons Donald J. Trump, # 3 Summons Pamela Bondi, # 4
                      Summons Kristi Noem, # 5 Summons DHS, # 6 Summons Madison Sheahan, # 7
                      Summons ICE, # 8 Summons Marco Rubio, # 9 Summons DOS, # 10 Summons
                      USAO)(Gelernt, Lee) (Entered: 03/15/2025)



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03/15/2025   2   SEALED MOTION to Proceed Under Pseudonym filed by J.G.G., G.F.F., J.G.O.,
                 W.G.H., J.A.V. (Attachments: # 1 Declaration of J.G.G., # 2 Declaration of W.G.H., #
                 3 Declaration of Molly Lauterback, # 4 Declaration of J.A.V., # 5 Declaration of Grace
                 Carney, # 6 Text of Proposed Order)(Gelernt, Lee) (Entered: 03/15/2025)
03/15/2025   3   MOTION for Temporary Restraining Order by J.G.G., G.F.F., J.G.O., W.G.H., J.A.V..
                 (Attachments: # 1 Certificate of Counsel, # 2 Memorandum in Support, # 3 Declaration
                 of J.G.G., # 4 Declaration of Grace Carney, # 5 Declaration of J.G.O., # 6 Declaration
                 of W.G.H., # 7 Declaration of Molly Laterback, # 8 Declaration of J.A.V., # 9 Text of
                 Proposed Order)(Gelernt, Lee) (Entered: 03/15/2025)
03/15/2025   4   MOTION to Certify Class by J.G.G., G.F.F., J.G.O., W.G.H., J.A.V.. (Attachments: #
                 1 Declaration of Daniel Galindo, # 2 Text of Proposed Order)(Gelernt, Lee) (Entered:
                 03/15/2025)
03/15/2025   5   NOTICE of Appearance by Daniel Antonio Galindo on behalf of All Plaintiffs
                 (Galindo, Daniel) (Entered: 03/15/2025)
03/15/2025       MINUTE ORDER granting 2 SEALED MOTION to Proceed Under Pseudonym. The
                 Court has reviewed Plaintiffs' 2 Motion to Proceed Pseudonymously. Given the
                 expedited nature of this matter, it determines that a full Opinion is not practical at this
                 time. Believing that Plaintiffs have made the required showing on the relevant factors,
                 the Court ORDERS that: 1) Their 2 Motion is GRANTED; and 2) They shall be
                 permitted to proceed pseudonymously unless and until the assigned judge determines
                 otherwise. Signed by Chief Judge James E. Boasberg on 3/15/2025. (zjd) Modified on
                 3/15/2025 (zjd). (Entered: 03/15/2025)
03/15/2025       Case Assigned to Chief Judge James E. Boasberg. (zjd) (Entered: 03/15/2025)
03/15/2025   6   SUMMONS (9) Issued Electronically as to All Defendants, U.S. Attorney, and U.S.
                 Attorney General. (Attachments: # 1 Notice and Consent) (zjd) (Entered: 03/15/2025)
03/15/2025   7   NOTICE of Appearance by Bradley Girard on behalf of All Plaintiffs (Girard, Bradley)
                 (Entered: 03/15/2025)
03/15/2025       MINUTE ORDER: The Court has reviewed Plaintiffs' Complaint and Motion for
                 Temporary Restraining Order. Given the exigent circumstances that it has been made
                 aware of this morning, it has determined that an immediate Order is warranted to
                 maintain the status quo until a hearing can be set. As Plaintiffs have satisfied the four
                 factors governing the issuance of preliminary relief, the Court accordingly ORDERS
                 that: 1) Plaintiffs' 3 Motion for TRO is GRANTED; 2) Defendants shall not remove
                 any of the individual Plaintiffs from the United States for 14 days absent further Order
                 of the Court; and 3) The parties shall appear for a Zoom hearing on March 17, 2025, at
                 4:00 p.m. The hearing will proceed by videoconference for the parties and by telephone
                 for members of the public. Toll free number: 833−990−9400. Meeting ID: 049550816.
                 So ORDERED by Chief Judge James E. Boasberg on 3/15/2025. (lcjeb1) Modified to
                 add public access line on 3/15/2025 (znbn). (Entered: 03/15/2025)
03/15/2025   8   NOTICE of Appearance by Skye Perryman on behalf of All Plaintiffs (Perryman,
                 Skye) (Entered: 03/15/2025)
03/15/2025   9   NOTICE of Appearance by Somil Trivedi on behalf of All Plaintiffs (Trivedi, Somil)
                 (Entered: 03/15/2025)
03/15/2025       MINUTE ORDER: The Court ORDERS that the parties shall appear for Zoom hearing
                 on Plaintiffs' 4 Motion for Class Certification on March 15, 2025, at 5:00 p.m. The

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                  hearing will proceed by videoconference for the parties and by telephone for members
                  of the public. Toll free number: 833−990−9400. Meeting ID: 049550816. So
                  ORDERED by Chief Judge James E. Boasberg on 3/15/2025. (lcjeb1) (Entered:
                  03/15/2025)
03/15/2025   10   NOTICE of Appearance by Scott Michelman on behalf of All Plaintiffs (Michelman,
                  Scott) (Entered: 03/15/2025)
03/15/2025        Set/Reset Hearings: Hearing set for 3/17/2025 at 04:00 PM via Zoom (Audio Line
                  Available) before Chief Judge James E. Boasberg. (znbn) Modified to correct hearing
                  location on 3/15/2025 (znbn). (Entered: 03/15/2025)
03/15/2025   11   NOTICE of Appearance by Christina Greer on behalf of All Defendants (Greer,
                  Christina) (Entered: 03/15/2025)
03/15/2025   12   NOTICE OF APPEAL TO DC CIRCUIT COURT as to Order on Motion for TRO,,,
                  by MADISON SHEAHAN, U.S. IMMIGRATION AND CUSTOMS
                  ENFORCEMENT, MARCO RUBIO, U.S. STATE DEPARTMENT, DONALD J.
                  TRUMP, PAMELA BONDI, KRISTI NOEM, U.S. DEPARTMENT OF
                  HOMELAND SECURITY. Fee Status: No Fee Paid. Parties have been notified.
                  (Greer, Christina) (Entered: 03/15/2025)
03/15/2025   13   NOTICE of Appearance by Arthur B. Spitzer on behalf of All Plaintiffs (Spitzer,
                  Arthur) (Entered: 03/15/2025)
03/15/2025   14   Transmission of the Notice of Appeal, Minute Order Appealed, and Docket Sheet to
                  US Court of Appeals. The Court of Appeals docketing fee was not paid because the
                  appeal was filed by the government re 12 Notice of Appeal to DC Circuit Court. (zjd)
                  (Entered: 03/15/2025)
03/15/2025   15   NOTICE of Appearance by Christina Greer on behalf of All Defendants (Greer,
                  Christina) (Entered: 03/15/2025)
03/15/2025   16   NOTICE of Appearance by Drew C Ensign on behalf of All Defendants (Ensign,
                  Drew) (Entered: 03/15/2025)
03/15/2025        Minute Entry for proceedings held before Chief Judge James E. Boasberg: Motion
                  Hearing held via Zoom (with public access line) on 3/15/2025 re 4 MOTION to Certify
                  Class filed by J.G.O., W.G.H., J.G.G., G.F.F., J.A.V.. Oral arguments heard. Order
                  forthcoming. (Court Reporter Tammy Nestor) (znbn) (Entered: 03/15/2025)
03/15/2025        MINUTE ORDER: As discussed in today's hearing, the Court ORDERS that: 1)
                  Plaintiffs' 4 Motion for Class Certification is GRANTED insofar as a class consisting
                  of "All noncitizens in U.S. custody who are subject to the March 15, 2025, Presidential
                  Proclamation entitled 'Invocation of the Alien Enemies Act Regarding the Invasion of
                  The United States by Tren De Aragua' and its implementation" is provisionally
                  certified; 2) The Government is ENJOINED from removing members of such class
                  (not otherwise subject to removal) pursuant to the Proclamation for 14 days or until
                  further Order of the Court; 3) The Government shall file any Motion to Vacate this
                  TRO by March 17, 2025, with Plaintiffs' Opposition due by March 19, 2025; and 4)
                  The hearing set for March 17, 2025, is VACATED and RESET for March 21, 2025, at
                  2:30 p.m. via Zoom. So ORDERED by Chief Judge James E. Boasberg on 3/15/2025.
                  (lcjeb1) (Entered: 03/15/2025)
03/15/2025   17   NOTICE OF APPEAL TO DC CIRCUIT COURT as to Order on Motion to Certify
                  Class,,,, Set/Reset Deadlines,,, by MADISON SHEAHAN, U.S. IMMIGRATION

                                                                                                            8
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           AND CUSTOMS ENFORCEMENT, MARCO RUBIO, U.S. STATE
           DEPARTMENT, DONALD J. TRUMP, PAMELA BONDI, KRISTI NOEM, U.S.
           DEPARTMENT OF HOMELAND SECURITY. Fee Status: No Fee Paid. Parties have
           been notified. (Greer, Christina) (Entered: 03/15/2025)




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                          UNITED STATES DISTRICT COURT FOR THE
                                  DISTRICT OF COLUMBIA
                                         333 Constitution Avenue, NW
                                          Washington, DC 20001-2866
                                 Phone: 202-216-7000 | Facsimile: 202-219-8530



 Plaintiff: J.G.G. et al.


                          vs.                              Civil Action No. 1:25-cv-00766-JEB


 Defendant: Donald J. Trump et al.


                                      CIVIL NOTICE OF APPEAL


Notice is hereby given this 15 day of           March        20 25 , that
all Defendants

hereby appeals to the United States Court of Appeals for the District of Columbia Circuit from the

judgment of this court entered on the       15 day of        March      , 20 25 , in

favor of all Plaintiffs

against said all Defendants, namely the unnumbered minute order entered at 7:26 PM

                 Attorney/Pro Se Party Signature:

                                           Name:
                                                     Christina P. Greer

                                        Address:
                                                     US DEPARTMENT OF JUSTICE, CIVIL DIV.

                                                     P.O. Box 878

                                                     Washington, DC 20044

                                     Telephone: ( 202 ) 598-8770

(Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil
action must be filed within 30 days after the date of entry of judgment or 60 days if the United
States or officer or agency is a party)
USCA Form 13
Rev. June 2017



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                                            U.S. District Court

                                           District of Columbia

Notice of Electronic Filing


The following transaction was entered on 3/15/2025 at 7:25 PM and filed on 3/15/2025




Case Name:       J.G.G. et al v. TRUMP et al
Case Number:     1:25−cv−00766−JEB
Filer:
Document Number: No document attached
Docket Text:
 MINUTE ORDER: As discussed in today's hearing, the Court ORDERS that: 1) Plaintiffs' [4]
Motion for Class Certification is GRANTED insofar as a class consisting of "All noncitizens
in U.S. custody who are subject to the March 15, 2025, Presidential Proclamation entitled
'Invocation of the Alien Enemies Act Regarding the Invasion of The United States by Tren De
Aragua' and its implementation" is provisionally certified; 2) The Government is ENJOINED
from removing members of such class (not otherwise subject to removal) pursuant to the
Proclamation for 14 days or until further Order of the Court; 3) The Government shall file any
Motion to Vacate this TRO by March 17, 2025, with Plaintiffs' Opposition due by March 19,
2025; and 4) The hearing set for March 17, 2025, is VACATED and RESET for March 21, 2025,
at 2:30 p.m. via Zoom. So ORDERED by Chief Judge James E. Boasberg on 3/15/2025.
(lcjeb1)




                                                                                                 11
    Case 1:25-cv-00766-JEB            Document 18       Filed 03/15/25    Page 12 of 12



1:25−cv−00766−JEB Notice has been electronically mailed to:

Arthur B. Spitzer aspitzer@acludc.org, 3598778420@filings.docketbird.com,
4094714420@filings.docketbird.com, ECFnoticesbackup@gmail.com, artspitzer@gmail.com

Lee Gelernt     lgelernt@aclu.org, lee−gelernt−6966@ecf.pacerpro.com

Scott Michelman     smichelman@acludc.org, aadetoro@acludc.org

Drew C Ensign      drew.c.ensign@usdoj.gov, ACL@azag.gov

Skye Perryman      sperryman@democracyforward.org, ecf@democracyforward.org

Bradley Girard    bgirard@democracyforward.org

Christina Greer    christina.p.greer@usdoj.gov

Daniel Antonio Galindo     dgalindo@aclu.org, daniel−galindo−7083@ecf.pacerpro.com

Somil Trivedi     strivedi@democracyforward.org

1:25−cv−00766−JEB Notice will be delivered by other means to::




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